                           IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE NORTHERN DISTRICT OF ALABAMA
                                      SOUTHERN DIVISION

  In Re:                                                )
                                                        ) Case No.: 24-00560-TOM13
            TYRONE R. ALLEN,                            )
            SSS: ###-##-0657                            )
                   Debtor.                              )
                                                        )

      AMENDED TRUSTEE’S OBJECTION TO CONFIRMATION AND MOTION TO DISMISS

                 COMES NOW Bradford W. Caraway, Chapter 13 Standing Trustee, and objects to the

 confirmation of Debtor’s plan and moves to dismiss this case based upon the following grounds:

           1.    The Debtor will need to provide business expenses for self-employment.

           2.    The plan payments proposed by the Debtor are insufficient to fund the plan. The Trustee

 recommends payments of $2,995.00 monthly to pay the proposed plan within 5 years for a 100%

 repayment plan due to unlisted claims no. 9 and 10.

           3.    However, the recommended payments are not feasible as required by 11 U.S.C. §

 1325(a)(6) because they exceed the projected disposable income listed in the Debtor’s schedules.

                 WHEREFORE, the Trustee objects to the confirmation of the Debtor’s plan and moves to

 dismiss this case. The Trustee prays for such other relief as the Court deems appropriate.


                                                          Bradford W. Caraway
                                                          Chapter 13 Standing Trustee

                                                          By:     /s/Mary Frances Fallaw
                                                          Mary Frances Fallaw
                                                          Staff Attorney
                                                          Post Office Box 10848
                                                          Birmingham, Alabama 35202
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                                      CERTIFICATE OF SERVICE

         I hereby certify that a correct copy of the forgoing Objection has been forwarded by email or U.S.
 Mail to the following on this the 19th day of April 2024:

         JAFFE & ERDBERG, P.C.
         JERDBERG@JAFFEERDBERG.COM

         TYRONE R. ALLEN
         4003 RUFF ROAD
         PINSON, AL 35126

                                                          /s/Mary Frances Fallaw
                                                          Staff Attorney




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